                   Case 3:11-cr-30010-PKH Document 53                                                            Filed 06/04/12 Page 1 of 5 PageID #: 137
 q;.A02.158          (Rev.06/05)Judgrnentin a Climinal Case
                     S h e e tI



                                                          UNrrBoSrarps Dlsrnrcr CoURT
                                  WESTERN                                                         Districtof                                                         ARKANSAS

               UNITEDSTATESOF AMERICA                                                                        JUDGMENT IN A CRIMINAL CASE
                                          V.
                                                                                                              CaseNumber:                                            3:11CR30010-002
   LUIS HUMBERTOHERMOSILLA-SANTIZO
                                                                                                              USM Number:                                            10618-010

                                                                                                              W. Blair Bradv
                                                                                                              D e f e n d u n t 'Ast t o r n e y
THE DEFENDANT:
X pleadedguiltyto count(s)                         Three(3) of the Indictmenton February13,2012

I pleadednolocontendere  to count(s)
  r.vhichrvasacceptedby the court.
[l wasfoundguiltyon count(s)
    aftcr a plea of not guilty.

The def'endantis adjudicatedguilty of theseoffenses:

Title & Section                                 Nature of Offense                                                                                                    OffenseEnded                         Count

2 l U . S . C .$ 8 a l ( a ) ( l )                      with Intentto DistributeMethamphetamine
                                                Possession                                                                                                             0 8 / 1 9 / 2 0I1                       I




                             as providedin pages2 through
                  is sentenced
      The def-endant                                                                                                     -5             of thisjudgment,with the court consideringthe
guidelines
         asnon-bindingandadvisoryonly.

              hasbeenfound not guilty on count(s)
n The def'endant

X Counrs                One( l). andthe ForfeitureAlleeation                                                             on the motionof thegovernment.
                                                                                                              aredismissed

                h i s o r d e r e (dh a t h ed e f e n d a nmt u s tn o t i f vt h eU n i r e dS t a t eas t t o r n efyo l t h i sd i s t r i cwt i t h i n3 0 d a y so f a n yc h a n g e   o f n a m er. e s i d e n c e .
o r . r t r a i l i n g u d d r e s s u nf irni leasl ,l r e s t i t u r i o n , c lonsdt s p. e c i auls s e s s m e n t s i n i p o s e d b y t h i s j u d g m e n t a r e fIuf ol lrydpi a
                                                                                                                                                                                             r ei dd.t o p a y r e s l i t u t i ( ) n .
thedef'endant           mustnotify the courtandUnitedStatcsattorneyof materiaIchangesin economiccircumstances.

                                                                                                              \tne 4.2O12
                                                                                                              D a t e o l l r n p o s i t i o no l J u d g m e n t



                                                                                                             /S/ P.K. Holmes. III
                                                                                                              S i g n a t u ro
                                                                                                                             ef J u d g c




                                                                                                              HonorableP.K. Holmes.III, Chief UnitedStatesDistrictJudse
                                                                                                              Nameandf itlc of Judge



                                                                                                             J u n e4 , 2 0 1 2
            Case 3:11-cr-30010-PKH Document 53                                                    Filed 06/04/12 Page 2 of 5 PageID #: 138
AO 2458    ( R e v . 0 6 / 0 5J) u d s m e nitn C r i m i n a lC a s e
           S h e e2 t - lmprisonment

                                                                                                                             Judgment -     Page -l             of   5
DEFENDANT:                              LUIS HUMBERTOHERMOSILLA.SANTIZO
CASENUMBER:                             3:l 1CR30010-002


                                                                                    IMPRISONMENT

        The defendantis herebycommittedto the custodyof the UnitedStatesBureauof Prisonsto be imprisonedfor a
total term of:    ninety-seven(97) months.




  n                                          to theBureauof Prisons:
      The courtmakesthefollowingrecommendations




 X    The defendantis remandedto thecustodyof the UnitedStatesMarshal.

  !               shallsurrenderto the United StatesMarshalfor this district:
      The def'endant

          trat                                                           !     a,m.    n   p.*.    on

      U       as notifiedby the UnitedStatesMarshal.

  n   The defendantshallsun-ender                                              by theBureauof Prisons:
                                                     at theinstitutiondesignated
                                fbr serviceof sentence

      n       before2 p.m. on

      n       as notifiedby the United StatesMarshal.

      tr      as notifiedby the Probationor PretrialServicesOffice.



                                                                                           RETURN
I have executedthis judgment as follows:




      Defendantdeliveredon

                                                                             , with a certifiedcopyof thisjudgment.



                                                                                                                         U N I T E D S T A T E SM A R S H A L



                                                                                                  By
                                                                                                                      DEPUTY UNITED STATES MARSHAL
AO 2458          Case 3:11-cr-30010-PKH Document 53
                ( R e v . 0 6 / 0 5J) u d g m e nitn a C l i m i n a lC a s e                                 Filed 06/04/12 Page 3 of 5 PageID #: 139
                Sheet3 - SupcrvisedRelease
                                                                                                                                                           Judcmenl-Pase                3        of             5

DEFENDANT:                                LUIS HUMBERTO HERMOSILLA-SANTIZO
CASE NUMBER                               3:I 1CR30010-002
                                                                                SUPERVISBDRELEASE
   Defendantis placedon supervisedreleasetbr a term of: three (3) years                                                                                which term shall commencc irnmediutely
uoonhisre|ease|rbmimorisonment.andwhichshallbeser.veffi



l . Within 72 hours of releasefiom custody of the Bureau of Prisons, the defendant shall report in person to the probation olTice in the
    district to which the defendantis released.

2 . The defendant shall not commit another f'ederal,state or local crime; the def'endantshall be prohibited from posscssinga firearm or other
     dangerousdevice;and the defendantshall not use,possess,or have anything at all to do wi^thany controlled substanc-e.

3. The defendant                                       drugtestingprovisions
              shallbe requiredto complywith themandatory                   of 18 U.S.C.$ 3583(d).

              shallcomplywith the DNA collectionprovisions
4. The defendant                                         of l8 U.S.C.$ 3583(d).

- 5 .I l ' t h i s . i u d g m e n t i m p o s e s a f i n e o r r e s t i t u t i o n , i t i s a c o n d i t i o n o f s u p e r v i s e d r e l e a s e t h a t t h e d e f e n d a n t p a y i n a c c o r d a n c e w i
      S c h e d u l e "P     f y r n e nst sh e eot f t h i sj u d g m e r r t .
                            oa


6 . T h e d e l e n d a n sl h a l lc o r n p l yw i t h t h e S t a n d a r dC o n d i t i o n so f S u p e r v i s e dR e l e a s ea s r e c o m m e n d e db y t h e U n i t e dS t a t e sS c n t e n c i n g
    Commission and as set o'uibelow on this page of the judgment.'aswell as any additionalconditionsbn the attachedpage.



                                                           STANDARD CONDITIONS OF SUPERVISION
   I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation ofllcer in a manner and fiequency directed by the court or probation otflcer.
   3)      the defendantshall answer truthfully all inquiriesby the probationofficer and follow the instructionsof the probationotflcer;
   4)      the def'endantshall support his or her dependentsand meet other family responsibilities;
   -5)     the defendantshall work regularly at a lawtul occupation,unlessexcusedby the probation officer lbr schooling,training, or other
           acceptablereasons;
  6)      the defendantshall notify the probation offlcer at leastten days prior to any change in residenceor employment;
  7)      the defendantshall refrain from excessiveuse of alcohol and shall not purchase,possess,use, distribute,or administerany
          controlled substanceor any paraphernaliarelatedto any controlled sub'stanccs,eiccpt as prescribedby a physician;
  8)      the def'endantshall not frequent places where controlled substancesare illegally sold, used, distributed, or administered;
  9)'     the defendantshall not associatewith any personsengagedin criminal activity and shall not associatewith any personconvicted of a
          t'elony, unless granted permission to do do'by the probaiion officer;
 l0)'     the defendantshall pcrmit a probation officer to visit him or her at any time at home or elsewhereand shall permit confiscationof any
          contrabandobservebin plain view of the probation officer;
 II)      the defendantshall notify the probation offlcer within seventy-twohoursof being arrestedor questionedby a law enfbrcementofficer;
 l2)      the defendantshall not enter into any agreementto act as an inlbrmer or a special agent of a law entorcementagency without the
          DerTnrssron
                    ol tne court: ano
 1 . 1 ) , h . d . i " n d . n , s h a l l - a s d i r e c t e d b v t h e p r o b a t i o no f l ] c e r - n o t i l v l h i r d p a r t i e so l r i s k s t h a t m u v b e o c c a s r o n e d
                                                                                                                                                                                                 by rhedefendant's
         climinal recordol personalhistorybr chdractelisticsand shall permit the probation officer to make such notificatioirsand to confirm
         the defendant'scomoliance with iuch notification reouirement.
AO 245B       Case 3:11-cr-30010-PKH Document 53
            (Rev.06/05)Judgmentin a Criminal Case                                                          Filed 06/04/12 Page 4 of 5 PageID #: 140
            Sheet5 - Climinal MonetaryPenalties
                                                                                                                                                Jucigment-       Page ;!-                 of             5

DEFENDANT:                                   LUIS HUMBERTOHERMOSILLA-SANTIZO
CASENUMBER:                                  3:I I CR300l0-002
                                                             CRIMINAL MONETARY PENALTIES
    The det-endantmust pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                                              Fine                                                      Restitution
TOTAI,S                $ 100.00                                                                $ 5,000.00                                             $ -o-


n   The determination          of restitutionis deferreduntil                                    An AmendedJudgmentin a Criminal Cctse(AO245C) will be entered
    a l t c rs u c hd e t e f m i n a t i o n .

n   The defendant                                               to thefollowingpayeesin the amountlistedbelow.
               mustmakerestitution(includingcommunityrestitution)

    If the clel'endant          makesa partialpayment,eachpayeeshallreceivean approximale^ly                                             plopor.ligr!94    p.ayrnent.       unless,spec'ified            otherwisein
    i h d _ p r i " r i i y g ; a l i - o i p e r c 6 n t a g g ' p a y m e n t c o l u n i n bHeoi w
                                                                                                    owe v. e r , p u i s ' u a n t t o t 8 U . S . C . g 3 6 6 a 0 ) n, "oanl lt ' e d e r a l v i c t i m s m u s t b e p a i d
    befcirethe-UnitedStatesis paid.

Name of Payee                                                Total Loss*                                       Restitution Ordered                                         Prioritv or Percentage




TOTALS


D    Restitution amount ordered pursuant to plea agreement $


!    The defendant mustpay intereston restitutionanda fine of morethan$2,500,unlessthe restitutionor fine is paidin tull beforethe
     fifieenthday afiel thedateof thejudgrnent,pursuantto 18 U.S.C.S 3612(1).All of the paymentoptionson Sheet6 may be subject
     to penalties
                for delinquency anddetault,pursuant to l8 U.S.C.$ 3612(g).

X                        that the defendantdoesnot havethe ability to pay interestand it is orderedthat:
     The court cletermined

     X      the intcrestrequirementis waived for the                              X       fine      tl     restitution.

     tr     rheinterestrequirement
                                for the                            n      fine        !      restitutionis moditledasfollows:



* Findingsfor thetotalamountof lossesarerequiledunderChapters109A,I 10,I l0A, and I 13Aof Title I 8 for of'fenses      on or after
                                                                                                               committed
Seotemb-er 13. 1994.but beforeApril 23, 1996.
AO 2458
                   Case 3:11-cr-30010-PKH Document 53
                  ( R e v . 0 6 / 0 5J) u d g m e ni tn a C r i m i n a lC a s e                                            Filed 06/04/12 Page 5 of 5 PageID #: 141
                  Sheet6 - Scheduleof Payments

                                                                                                                                                                              Judgment-           Page -f-                 of              5

DEFENDANT:                                   LUIS HUMBERTO HERMOSILLA-SANTIZO
CASENUMBER:                                  3:11CR30010-002

                                                                                       SCHEDULE OF PAYMENTS

            thedefendant's
Havingassessed                                                                   aredueas fbllows:
                        ability to pay,paymentof thetotalcriminalmonetarypenalties

A        X        Lump sumpaymentof $                               -5,100.00                        due immediately, balance due


                  n         not laterthan                                                                   'of
                  !         in accordance                       !       C,         !     D,         !          E, or          n F below;or

B         D Paymentto beginimmediately(may be combinedwith                                                               tr C,               I     D, or           [] F below); or

C t r Paymentin equal                                                              (e.g.,weekly,monthly,quarterly)installments
                                                                                                                            of $                                                  over a period of
                                          (e.g.,months or years),to commence                                                         (e.g., 30 or 60 days) after the date of this judgment; or

D        tr       Paymentin equal                 (e.g.,weekly,monthly,quarterly)installmentsof $                 overa periodof
                             (e.g.,months or years),to commence             (e.g.,30 or 60 days)after      from
                                                                                                     release    imprisonment to a
                  termof supervision;
                                    or

         !        Paymentduringthetermof supervised   release
                                                            will commence within              (e.g.,30 or 60 days)afterrelease  fiom
                                                                                    of the defendant'sability to
                  imprisonment.The court will setthe paymentplan basedon an assessment                           pay at that time; or

         n Specialinstructionsregardingthe paymentof criminalmonetarypenalties:




                                                                                                      t p o s eism p r i s o n m e nDavment
U n l e s :t h eeo u r lh a se x D r e s sol vr d e r e od t h e r w i s ei l,' t h i si u d g m e ni m                              t.                    penalties
                                                                                                                                         of criminalmonetarv       is dueduring
imprisonment.All criminalmonetarypenalties.                                    except'ihose         paymentsri.rade        through ihe FederalBureauof Pril<ins'InmateFinancia-l
Rc'sponsibility      Program.      aremadeto the'clerkof thecolrt.

The del'endantshall receivecredit for all payrnentspreviouslymade toward any criminal monetary penaltiesimposed.




n        JointandSeveral

                  andCo-Defendant
         Def'endant                                                    number),Total Amount,JointandSeveralAmount,
                                  NamesandCaseNumbers(includingdefendant
                        payee,if appropriate.
         andcorresponding




tr       The defendantshallpay the cost of prosecution.

D                    shallpay thefbllowingcourtcost(s):
         The def-endant

!        The defendantshalltbrfeit the defendant'sinterestin the fbllowing propertyto the United States:




P a v m e n r ss h a l l b e a p o l i c di n t h e l o l l < , r w i n og r d e r :( I ) a s s e s s m e n(t2, ) r e s t i t u t i o np r i n c i p a l .1 3 . r; e s t i t u t i o ni n t e r e s l (. 4 ) l i n e p r i n c i p a l .
( 5 i f i n e i n t e r e s t(, 6 ) ' c b m m u n i t yr e s t i t u t i o ; .( 7 ) p e n r i t i e s ,a n d ( 8 ) c o s t s .i n c l u d i n gc o s tb f p r o s e c u t i o na n d c o u r t c o s t s .
